Case: 5:21-mj-01104-KBB Doc #: 2 Filed: 03/19/21 1 of 1. PageID #: 11
                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION



UNITED STATES OF AMERICA,                    )                 5:21mj1104
                                                     Case No.________________________
                                             )
          Plaintiff,                         )
                                             )
          vs.                                )       DUE PROCESS PROTECTIONS ACT
                                             )       NOTICE AND ORDER
                                             )
  ETHAN C. SEITZ
_____________________________,               )
                                             )
          Defendant.                         )       Magistrate Judge Kathleen B. Burke



     Pursuant to the Due Process Protections Act, the Court reminds the government of its

obligations under Brady v. Maryland, 373 U.S. 83 (1963), to disclose evidence favorable to

the defendant and material to the defendant's guilt or punishment. The government is ordered

to comply with Brady and its progeny. The failure to do so in a timely manner may result in

consequences, including dismissal of the indictment or information, exclusion of government

evidence or witnesses, adverse jury instructions, dismissal of charges, contempt proceedings,

sanctions by the Court, or any other remedy that is just under the circumstances.

        IT IS SO ORDERED.



Approved:
                 KATHLEEN B. BURKE
                 U.S. MAGISTRATE JUDGE


                3/19/2021
Date:
